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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                           Chapter 7

TRANSCARE CORPORATION, et al.
                                                                 Case No.: 16-10407 (SMB)
                                             Debtors.            (Jointly Administered)
-------------------------------------------------------x
SALVATORE LAMONICA, as Chapter 7
Trustee for the Estates of TransCare                             Adv. Proc. No. 18-1021
Corporation, et al.,

                 Plaintiff,

                 v.

LYNN TILTON, PATRIARCH
PARTNERS AGENCY SERVICES, LLC,
PATRIARCH PARTNERS, LLC,
PATRIARCH PARTNERS MANAGEMENT
GROUP, LLC, ARK II CLO 2001-1,
LIMITED, ARK INVESTMENT PARTNERS
II, L.P., LD INVESTMENTS, LLC,
PATRIARCH PARTNERS II, LLC,
PATRIARCH PARTNERS III, LLC,
PATRIARCH PARTNERS VIII, LLC,
PATRIARCH PARTNERS XIV, LLC,
PATRIARCH PARTNERS XV, LLC,
TRANSCENDENCE TRANSIT, INC., and
TRANSCENDENCE TRANSIT II, INC.

                  Defendants.
-------------------------------------------------------x

                            STIPULATION AND SCHEDULING ORDER

        WHEREAS, counsel for Plaintiff Salvatore LaMonica as Chapter 7 Trustee (the “Trustee”)

of the jointly-administered estates of TransCare Corporation, TransCare New York, Inc.,

TransCare ML, Inc., TC Ambulance Group, Inc., TransCare Management Services, Inc., TCBA
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Ambulance, Inc., TC Billing and Services Corporation, TransCare Westchester, Inc., TransCare

Maryland, Inc., TC Ambulance North, Inc., TransCare Harford County, Inc., TransCare

Pennsylvania, Inc., TC Ambulance Corporation, and TC Hudson Valley Ambulance Corp.

(collectively, “TransCare”), and counsel for Defendants Lynn Tilton, Patriarch Partners Agency

Services, LLC, Patriarch Partners, LLC, Patriarch Partners Management Group, LLC, Ark II CLO

2001-1, Limited, Ark Investment Partners II, L.P., LD Investments, LLC, Patriarch Partners II,

LLC, Patriarch Partners III, LLC, Patriarch Partners VIII, LLC, Patriarch Partners XIV, LLC,

Patriarch Partners XV, LLC, Transcendence Transit, Inc., and Transcendence Transit II, Inc.

(collectively, “Defendants” and, together with the Trustee, the “Parties”)) conferred to develop a

proposed scheduling order for this matter;

       WHEREAS, on April 17, 2018, the Court held a pre-trial status conference in this matter

and on that date directed the Parties to submit a Stipulation and Proposed Scheduling Order;

       IT IS HEREBY ORDERED AS FOLLOWS:

       1.      Deadline for Fed. R. Civ. P. 26(a)(1) Disclosures: May 14, 2018.

       2.      Completion of Fact Discovery: October 26, 2018.

       3.      Deadline for Fed. R. Civ. P. 26(a)(2) Disclosures: November 30, 2018.

       4.      Deadline for Designating Any Rebuttal Experts and Service of Any Rebuttal Expert

               Reports: January 7, 2019.

       5.      Completion of Expert Discovery: February 6, 2019.

       6.      Deadline to Request Pre-Motion Conference for Any Dispositive Motions: March

               8, 2019.

       7.      If No Dispositive Motions, Deadline to Submit Agreed Pre-Trial Order: March 29.

               2019.

       8.      If No Dispositive Motions, Final Pre-Trial Conference: April 11, 2019.
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Dated: New York, New York
       April 20, 2018

    STORCH AMINI PC                                    PROSKAUER ROSE LLP


    /s/ Avery Samet                    _               /s/ Timothy Karcher                 _
    Steven G. Storch, Esq.                             Timothy Karcher, Esq.
    Avery Samet, Esq.                                  Proskauer Rose LLP
    Jaime B. Leggett, Esq.                             Eleven Times Square
    Storch Amini PC                                    New York, NY 10036
    2 Grand Central Tower                              (212) 969-3000
    140 East 45th Street, 25th Floor
    New York, NY 10017                                 Attorneys for Defendants
    (212) 490-4100

    Attorneys for Trustee
 

 

IT IS SO ORDERED:

                                                        /s/ STUART M. BERNSTEIN

Dated: April 23, 2018                                  ___________________________________
New York, New York                                     United States Bankruptcy Judge




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